384 U.S. 953
    86 S.Ct. 1567
    16 L.Ed.2d 549
    Joe DAVIS, petitioner,v.UNITED STATES.
    No. 980.
    Supreme Court of the United States
    May 23, 1966
    
      Martin Garbus, for petitioner.
      Solicitor General Marshall, Assistant Attorney General Vinson, Robert S. Erdahl and Marshall T. Golding, for the United States.
      Petition for writ of certiorari to the United States Court of Appeals for the Second Circuit denied. Dissenting opinion by Mr. Justice Stewart:
      'The petitioner stands convicted for sending two allegedly obscene phonograph records through the mail.1 One of the records consists almost entirely of the sounds of percussion instruments. Its title 'Erotica,' is a gross misnomer. The second record is a transcription of passages from 'Songs of Bilitis,' a book of poems published by Pierre Louys in 1894. Pierre Louys was a French poet and novelist who lived from 1870 to 1925. The Columbia Dictionary of Modern European Literature2 says that his poems 'by their grace, by that clear imagery characteristic of the Parnassian school and by their pure and flexible harmony of style may well become immortal; indeed few poets have ever had a more fervent worship of beauty and a more profound respect for form. The works of Louys have inspired several musicians, among whom the most notable is Clause Debussy. * * *'
      'Under the First Amendment this conviction cannot stand. I would grant certiorari and reverse the judgment.'
      Mr. Justice DOUGLAS joins this dissent, adding that he would also reverse on the basis of his separate opinions in Ginzburg v. United States, 383 U.S. 463, 86 S.Ct. 942, 16 L.Ed. 31, and A Book Named 'John Cleland's Memoirs of a Woman of Pleasure' v. Attorney General of Com. of Massachusetts, 383 U.S. 413, 86 S.Ct. 975, 16 L.Ed.2d 1. Mr. Justice BLACK would also grant certiorari and reverse the judgment.
    
    
      
        1
         He was also convicted for mailing non-obscene circulars advertising these records for sale. If the records are not obscene, the convictions on these advertising counts obviously cannot stand. Five additional counts involve the label of a third record, pasted on the outside of its mailing wrapper. This record was not even alleged to be obscene.
      
      
        2
         Columbia Univ. Press, N.Y., 1947.
      
    
    